   Case: 1:18-cr-00185 Document #: 339 Filed: 03/30/22 Page 1 of 1 PageID #:4654
       Case: 22-1502     Document: 1-3         Filed: 03/29/2022    Pages: 1



    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                              Office of the Clerk
        United States Courthouse
                                                                             Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                             www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                          NOTICE OF DOCKETING - Short Form
March 29, 2022

To: Thomas G. Bruton
    Clerk of Court

The below captioned appeal has been docketed in the United States Court of Appeals for the
Seventh Circuit:

                Appellate Case No: 22-1502

                Caption:
                UNITED STATES OF AMERICA,
                         Plaintiff - Appellee

                v.

                TOBIAS DIGGS,
                         Defendant - Appellant
                District Court No: 1:18-cr-00185-1
                District Judge Gary Feinerman
                Clerk/Agency Rep Thomas G. Bruton
                Date NOA filed in District Court: 03/14/2022
If you have any questions regarding this appeal, please call this office.

form name: c7_Docket_Notice_short_form        (form ID: 188)
